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ALMB 3 (Rev 12/17)
                                                             United States Bankruptcy Court
                                                               Middle District of Alabama
 IN RE:
 Michael Douglas Holton
                Debtor(s).                                                        CASE NO.

                                                                     CHAPTER 13 PLAN
                                                                     Date November 11, 2019
                                                                       Check If Amended Plan

1.          NOTICES

            1.1 Creditor Notices

            CREDITOR'S RIGHTS WILL BE AFFECTED BY THIS PLAN. You should carefully read this and other documents sent to
            you, and discuss them with your attorney.

            TO FILE AN OBJECTION TO CONFIRMATION. An objection to confirmation must be filed not later than seven days prior to
            the date fixed for the confirmation hearing. The document must state with particularity the grounds for the objection.

            PROOFS OF CLAIM. Creditors must file a timely proof of claim to be paid under this plan. Confirmation of this plan does not
            bar the debtor, trustee, or a party in interest from objecting to a claim. Confirmation of this plan does not constitute the
            allowance or disallowance of the amount of the creditor's claim, but it does control how the claim will be paid under the plan.

 1.1.1       A limit on the amount of a secured claim which may result in a partial payment or       Included                 Not Included
             no payment at all to the secured creditor, set out in paragraph 5.1. If the Included
             box is checked, the plan must be served on the affected creditor. Rule 3012,
             F.R. Bankr. P.
 1.1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security               Included                 Not Included
             interest, set out in paragraph 6. If the Included box is checked, the plan must be
             served on the affected creditor. Rule 4003, F.R. Bankr. P.
 1.1.3       Nonstandard provisions, set out in paragraph 17.                                        Included                 Not Included


2.          PAYMENT AND LENGTH OF PLAN

Debtor shall pay $200.00 per Month to the chapter 13 trustee beginning 12/2019
Debtor shall pay $50.00 per Week to the chapter 13 trustee beginning January 2020

The length of the plan is 60 months. Other payment provisions:

3.          FILING FEES

            The filing fee as prescribed by Local Rule 1006-1 shall be paid as follows:

                         Filing fee paid in full directly to the clerk of court with the petition.
                         Filing fee is being paid in installments directly to the clerk of court.

                         Filing fee is being paid in installments through this plan as follows:

                  Total filing fee:                                                                         $310.00
                  Initial installment paid with filing of petition:                                           50.00
                  Remaining balance to be paid through the chapter 13 plan:                                 $260.00
4.          ATTORNEY'S FEES FOR DEBTOR'S BANKRUPTCY COUNSEL

            The following attorney's fees shall be paid through the debtor's plan payments:
             Total attorney fee:                                                                          $3,500.00
             Amount paid by the debtor directly to attorney prior to filing:                                  $0.00
             Net attorney fee being paid through the chapter 13 plan disbursements:                       $3,500.00

5.          SECURED CLAIMS

            5.1 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE PLAN LIMITS VALUE OF COLLATERAL


(Form Plan 07-07-2017)                                                      1
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               None.

                        The remainder of this paragraph will be effective only if the applicable box in paragraph 1.1.1 is checked.

                        Pursuant to 11 U.S.C. §1322(b)(2), claims being paid under this section of the plan will be modified. For secured
                        claims of creditors, unless ordered otherwise by the court, the plan provisions below control the value of the secured
                        claim listed below. For secured claims of governmental units, unless otherwise ordered by the court, the value of a
                        secured claim listed in the proof of claim filed in accordance with the bankruptcy rules controls over any contrary
                        amounts listed below. The debtor proposes that the trustee make adequate protection payments prior to the
                        confirmation of this plan pursuant to 11 U.S.C. §1326(a)(1) to the following creditors indicated below holding a
                        purchase money security interest in personal property. Only those creditors entitled to 11 U.S.C. §1326(a)(1)
                        adequate protection payments will receive pre-confirmation payments through the debtor's payments to the trustee.
                        The trustee shall commence making such payments to creditors holding allowed claims secured by an interest in
                        personal property consistent with the trustee's distribution process only after the timely filing of a proof of claim by
                        such creditor. The trustee shall receive the percentage fee fixed under 28 U.S.C. § 586(e) on all adequate protection
                        payments. Pre-confirmation adequate protection payments shall be applied to the principal of the creditor's claim.
                        Upon confirmation of this plan, all secured creditors will receive adequate protection payments as set out below along
                        with the payment of the debtor's attorney's fees. At such time as the debtor's attorney's fees have been paid in full,
                        the creditor's claim shall be paid its specified monthly plan payments on the terms and conditions listed below.

                                                                                                   § 1326 PMSI                         Specified
                           Collateral             Amount of          Collateral                    Adeq Prot?      Adeq Prot           Monthly
     Creditor             Description               Debt              Value        Interest Rate      Yes/No         Pymt              Payment

            5.2 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE VALUE IS NOT MODIFIED
               The claims listed below were either (1) incurred within 910 days before the petition date and secured by a purchase money
               security interest in a motor vehicle acquired for the personal use of the debtor, or (2) incurred within 365 days of the petition
               date and secured by a purchase money security interest in any other thing of value. The debtor proposes that the trustee
               make adequate protection payments prior to the confirmation of this plan pursuant to 11 U.S.C. § 1326(a)(1) to the
               following creditors indicated below holding a purchase money security interest in personal property. Only those creditors
               entitled to 11 U.S.C. § 1326(a)(1) adequate protection payments will receive pre-confirmation payments through the
               debtor's payments to the trustee. The trustee shall commence making such payments to creditors holding allowed claims
               secured by an interest in personal property consistent with the trustee's distribution process and only after the timely filing
               of proofs of claim by such creditors. The trustee shall receive the percentage fee fixed under 28 U.S.C. § 586(e) on all
               adequate protection payments. Pre-confirmation adequate protection payments shall be applied to the principal of the
               creditor's claim. Upon confirmation of this plan, all secured creditors will receive adequate protection payments as set out
               below along with the payment of the debtor's attorney's fees. At such time as the debtor's attorney's fees have been paid in
               full, creditors' claims shall be paid the specified monthly plan payments on the terms and conditions listed below as
               required under 11 U.S.C. § 1325(a)(5). Claims being paid under this section of the plan will not be affected by 11 U.S.C. §
               506 and will be paid pursuant to 11 U.S.C. § 1325(a)(5).

                                                                                                   § 1326 PMSI                         Specified
                           Collateral             Amount of          Collateral                    Adeq Prot?      Adeq Prot           Monthly
     Creditor             Description               Debt              Value        Interest Rate      Yes/No         Pymt              Payment
 Credit                 2006 GMC                       $5,791.00       $7,400.00      6.25%            Yes               $55.00           $125.00
 Acceptance             Denali
                        Value $
                        7,400.00

6.          LIEN AVOIDANCE

                        None.

                        The remainder of this paragraph will be effective only if the applicable box in paragraph 1.1.2 is checked.

                        The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair
                        exemptions to which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the
                        court, upon entry of the order confirming the plan a judicial lien or security interest securing a claim listed below will
                        be avoided to the extent that it impairs such exemptions. The amount of the judicial lien or security interest that is
                        avoided will be treated as an unsecured claim to the extent allowed. The amount, if any, of the judicial lien or security
                        interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Rule
                        4003(d), Federal Rules of Bankruptcy Procedure. If more than one lien is to be avoided, provide the information
                        separately for each lien. Transfer any remaining amount after avoidance to paragraph 5.1 for treatment as a secured
                        claim.


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      Information regarding judicial                                                                                            Treatment of remaining
      lien or security interest                                              Calculation of lien avoidance                      secured claim

     7.          SURRENDERED PROPERTY
                 The debtor surrenders the following collateral. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as
                 to surrendered collateral. Any secured claim submitted by such creditor will receive no distribution under this plan until an
                 amended proof of claim reflecting any deficiency balance remaining following surrender, if applicable, is filed by such creditor.

                      Creditor                             Collateral Description                   Amount of Debt                   Value of Collateral

     8.          CURING DEFAULTS
                 Pursuant to 11 U.S.C. § 1322(b)(5), the debtor shall cure defaults with respect to the creditors indicated below. The trustee
                 shall pay through this plan the allowed claims for arrearages at 100%. Unless otherwise ordered by the court, the amount of
                 default to be cured under this provision shall be the amount of the allowed claim filed by the creditor. The amount of arrearage
                 listed herein is an estimate, and in no way shall this estimate limit what the trustee shall distribute to said creditor under this
                 plan to cure the default.

                 Creditor                   Collateral Description              Amount of Arrearage             Interest Rate              Monthly Payment

     9.          DIRECT PAYMENTS
                 The following secured creditors or holders of long-term debt will be paid directly by the debtor to the creditor. The debtor shall
                 make all 11 U.S.C. § 1326 pre-confirmation adequate protection payments directly to the following creditors pursuant to the
                 terms of the contract with the creditor. The debtor shall continue to make all payments to the creditor directly pursuant to the
                 terms of the contract following the confirmation of the debtor's plan.

              Creditor                      Collateral                    Amount of Debt    Value of Collateral      Date Payment to           Direct Payment
                                           Description                                                                   Resume                    Amount
      -NONE-



     10.         LONG-TERM DEBTS MAINTAINED THROUGH PLAN
                 The debtor proposes that the trustee maintain the following long-term debts through the plan. Prior to confirmation of this plan,
                 the trustee shall make adequate protection payments to all of the following long term creditors indicated below. The trustee
                 shall commence making such payments to creditors holding allowed secured claims consistent with the trustee's distribution
                 process and only after the timely filing of proofs of claim by such creditors. The trustee shall receive the percentage fee fixed
                 under 28 U.S.C. § 586(e) on all payments. Upon confirmation of this plan, said long term creditors will receive payments as set
                 out below along with the payment of the debtor's attorney's fees. Unless otherwise ordered by the court, the amounts listed on
                 a proof of claim filed before the filing deadline under Rule 3002(c), Federal Rules of Bankruptcy Procedure, or any notice of
                 payment change filed under Rule 3002.1(b), Federal Rules of Bankruptcy Procedure, control over any contrary amounts listed
                 below as to the current installment payment. In the absence of a contrary claim timely filed, the amounts stated below are
                 controlling.

                 Creditor                   Collateral Description                 Amount of Debt              Collateral Value            Monthly Payment
      -NONE-

     11.         DOMESTIC SUPPORT OBLIGATIONS

                     None.

     12.             PRIORITY CLAIMS (Excluding Domestic Support Obligations)
The debtor will pay all priority claims including the following pursuant to 11 U.S.C. § 507 unless a claimant expressly agrees
otherwise. See 11 U.S.C. § 1322(b)(10).

                     Claimant                                   Type of Priority             Interest Rate      Scheduled Amount            Monthly Payment
                                                                                             (if applicable)
      INTERNAL * REVENUE                            Taxes                                    0.00%                              $753.00                          $20.00
      SERVICE

     13.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                 Executory contracts and unexpired leases receive the following designated treatment. For all executory contracts and
                 unexpired leases being assumed by the debtor pursuant to this plan, the debtor shall make all pre-confirmation 11 U.S.C. §
                 1326 adequate protection payments directly to the lessors pursuant to the terms of the contracts. For all contracts assumed,
                 following the confirmation of the debtor's plan the debtor shall continue to make all payments directly to the creditors pursuant

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       to the terms of the contracts. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as to rejected
       contracts or leases. Any claim submitted by such creditor will receive no distribution under this plan until an amended proof of
       claim reflecting any deficiency balance remaining following rejection, if applicable, is filed by such creditor.


                 Creditor                             Collateral Description                   Reject                           Assume
 None

14.         SPECIALLY CLASSIFIED UNSECURED CLAIMS
            The following claims shall be paid as specially classified unsecured claims and shall receive the following designated
            treatment:

            Creditor                        Amount of Debt             Amount of Debt to be         Interest Rate             Monthly Payment
                                                                        Specially Classified
 -NONE-

15.         UNSECURED CLAIMS
              Percentage Plan: Allowed non-priority unsecured claims shall be paid through the distribution of the debtor's chapter 13
              plan at a rate of 0.00%

            If the selected plan's dividend to unsecured creditors is less than 100%, the debtor proposes to pay to the trustee all projected
            disposable income for the applicable commitment period for the benefit of unsecured creditors as required by 11 U.S.C. §
            1325(b).

16.         OTHER PLAN PROVISIONS
            (a) Lien Retention: Allowed secured claim holders shall retain liens until the liens are released or upon completion of all
            payments under this plan unless specified in paragraph 6.

            (b) Vesting of Property of the Estate
                Property of the estate shall remain property of the estate subsequent to confirmation of this plan.

            All property of the estate, whether it remains in the estate or revests with the debtor upon confirmation of the plan, shall remain
            in the debtor’s possession and control. Subject to the requirements of 11 U.S.C. §363, the debtor shall have use of property of
            the estate.

            (c) Direct Payments by Debtor: Secured creditors and lessors to be paid directly by the debtor may continue to mail to the
            debtor the customary monthly notices or coupons notwithstanding the automatic stay.

17.         NONSTANDARD PROVISIONS

                     None.
            Under Rule 3015(c), Federal Rules of Bankruptcy Procedure, nonstandard provisions must be set forth below. A nonstandard
            provision is a provision not otherwise included in or deviates from this plan. Nonstandard provisions set out elsewhere in this
            plan are ineffective.

                        The following plan provisions will be effective only if “Included” is selected in paragraph 1.1.3.


Lawsuit/Claims Language
The debtor proposes to pay any proceeds over and above the allowed exemptions from any lawsuits, settlements or other
causes of action to the Trustee for the benefit of unsecured creditors.
Pursuant to Section 522(f) of the Bankruptcy Code, the debtors(s) elects to avoid any and all judicial liens allowable under
Section 522(f)(1), and any and all non-possessory, non-purchase money security interests allowable under Section 522(f)(2),
and this Plan incorporates any motions to avoid such liens or security interests filed herein. Unless otherwise ordered by the
Court, confirmation of this plan shall be deemed as an order granting any such motion of lien avoidance.

Alabama Power Language
Debtor will continue to pay pre-petition and post-petition electric service debt in the ordinary course of business in lieu of
posting a deposit as adequate assurance of future payment under section 366 of the United States Bankruptcy Code. Debtor
acknowledges and agrees that the automatic stay does not bar Alabama Power Company's efforts to collect pre-petition and
post-petition utility service debt.

18.         SIGNATURES OF DEBTOR AND DEBTOR’S ATTORNEY
            If the debtor does not have an attorney, the debtor must sign below. If he or she does have an attorney, the debtor’s signature
            is optional. The debtor’s attorney, if any, must sign below.

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   /s/ Michael Douglas Holton
   Michael Douglas Holton                                                         Signature of Co-Debtor
   Signature of Debtor 1

       Executed
       on                November 11, 2019                                        Executed on

     /s/ David Weston                                                             Date          November 11, 2019
     David Weston
 Signature of Attorney for Debtor(s)

By filing this document, the debtor and his or her attorney (if applicable) certify that the wording and order of the provisions
in this chapter 13 plan are identical to those contained in ALMB Local Form 3, other than any nonstandard provisions
included in paragraph 17.




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